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11   UNITED STATES OF AMERICA

12                           UNITED STATES DISTRICT COURT

13                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

14                                  WESTERN DIVISION

15   UNITED STATES OF AMERICA,                Case No. CV 17-00399-TJH(JCx)

16              Plaintiff,                    PLAINTIFF UNITED STATES OF
                                              AMERICA'S REPORT REGARDING STATUS
17                    v.                      OF RELATED CRIMINAL CASE

18   $146,780.00 IN U.S. CURRENCY,

19              Defendant.

20
     MANUELA GOMEZ,
21
                Claimant.
22

23         Pursuant to the Court's Order filed December 20, 2017 based upon

24   the parties stipulation therefor, the Court stayed this civil

25   forfeiture action pursuant to 18 U.S.C. § 98l(g)          (which provides for

26   a mandatory stay of a civil forfeiture action where civil discovery

27   will adversely affect the prosecution of a related criminal case)

28   pending the resolution of the related criminal case filed on December
     Case 2:17-cv-00399-TJH-JC Document 29 Filed 05/01/18 Page 2 of 2 Page ID #:79




 1   4, 2017 in Los Angeles Superior Court and entitled People of the

 2   State of California v. Pedro Luis Prieto, Los Angeles County Superior

 3   Court Case No. BA463301 (the "related criminal case").           The Court's

 4   Order instructed the government to file reports every ninety (90)

 5   days, commencing February 1, 2018, regarding the status of the

 6   related criminal case.      Accordingly, the government is hereby

 7   submitting this report regarding the status of the related criminal

 8   case.

 9           At the present time, the related criminal case filed December 4,
10   2017 is ongoing and has not yet been concluded.          Pursuant to the

11   Court's Order filed December 20, 2017, the government will submit its

12   next status report within 90 days of the filing of this status report

13   (i.e., by August 2, 2018).
      Dated: May 1, 2018                   Respectfully submitted,
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15
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20                                                /s/
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